837 F.2d 940
    O. George SPECHT, Jr. and June B. Specht, Plaintiffs-Appellees,v.Roger JENSEN, Doug Martin, and Don Owens, Defendants-Appellants,Pat Tellier and Ken Jacobs, Defendants.O. George SPECHT, Jr. and June B. Specht, Plaintiffs-Appellants,v.Roger JENSEN, Pat Tellier, Doug Martin, Don Owens and KenJacobs, Defendants-Appellees.
    Nos. 85-1457, 85-1533.
    United States Court of Appeals,Tenth Circuit.
    Feb. 4, 1988.
    
      Appeal from the United States District Court for the District of Colorado (D.C. No. 82-Z-809).
      Before HOLLOWAY, Chief Judge, and SETH, McKAY, LOGAN, SEYMOUR, MOORE, ANDERSON, TACHA and BALDOCK, Circuit Judges.
    
    ORDER
    
      1
      Upon filing of the panel opinion in this case, Specht v. Jensen, 832 F.2d 1516 (10th Cir.1987), defendants petitioned this court for rehearing with a suggestion for rehearing en banc.  The court has voted to en banc only one issue:  whether the district court committed reversible error when it permitted an attorney to testify as an expert witness, to give his views on the law, and to give his opinion on whether defendants engaged in unconstitutional searches of plaintiffs' premises.
    
    
      2
      The court directs the parties to file supplemental briefs on this issue as follows:
    
    
      3
      (1) Defendants shall file an opening brief not to exceed 25 pages on or before March 6, 1988.
    
    
      4
      (2) Plaintiffs shall file their responsive brief not to exceed 25 pages on or before April 5, 1988.
    
    
      5
      (3) Defendants may file a reply brief not to exceed 10 pages on or before April 19, 1988.
    
    
      6
      The court will hear oral argument on the issue at its May term of court in Denver.  The parties will be notified of the specific date and time.
    
    
      7
      The opinion at 832 F.2d 1516 is not vacated because a number of issues therein will be unaffected by the en banc decision.  The judgment entered November 10, 1987, is vacated.
    
    